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                         IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF ARKANSAS
                                  WESTERN DIVISION

UNITED STATES OF AMERICA

VS.                                       4:04-CR-00169-01-BRW

DEREK ALLMON

                                                 ORDER

        Defendant’s Motion to Reconsider re: Motion to Vacate (Doc. No. 918) -- Defendant

contends that the “June 2006 and March 2008 restrictive orders were improperly imposed by the

district court” and should be vacated. However, the restrictions in the June 2006 order1 were in

response to a motion by the Prosecution,2 unopposed,3 directed as part of Defendant’s original

sentence,4 and reduced to writing and filed contemporaneously with the judgment. The March

2008 order, was in response to Defendant’s motion and actually lessened the restrictions in the

June 2006 order by allowing Defendant to communicate with his daughter and brother.5

Accordingly, Defendant’s Motion to Reconsider is DENIED.

        Defendant’s Motion to Appoint Counsel (Doc. No. 920) is DENIED.

        IT IS SO ORDERED this 10th day of April, 2013.

                                                           /s/ Billy Roy Wilson
                                                           UNITED STATES DISTRICT JUDGE


        1
         Doc. No. 670.
        2
         Doc. No. 652.
        3
          See Doc. No. 731 at page 23: “THE COURT . . . I am considering an order directing the Bureau
of Prisons not to allow Mr. Allmon to correspond or communicate in any way with anyone who was a
witness or either actually testified or who was listed as a potential witness. I assume the defendant objects
to that. Is that correct, Mr. West?
         MR. WEST: We understand. We'll obey the orders of the Court, your Honor.”
        4
        See Doc. No. 731 at page 45: “An order will be included directing him not to write to anyone
who was a witness or a listed as a potential witness. Of course, his wife will be excepted from that. He'll
be allowed to write to her under the guidelines set by the Bureau of Prisons, of course.”
        5
         See Doc. Nos. 765, 771.
